                                                                                                    Case 16-16602-btb         Doc 87   Entered 08/31/17 07:58:38        Page 1 of 2




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                                                                                               3
                                                                                               4Entered on Docket
                                                                                                August 31, 2017
                                                                                            ___________________________________________________________________
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                                                                                               6
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                                                                                              13   Counsel for Shelley D. Krohn, Chapter 7 Trustee

                                                                                              14                              UNITED STATES BANKRUPTCY COURT

                                                                                              15                                       DISTRICT OF NEVADA

                                                                                              16    In re:                                           Case No. BK-S-16-16602-BTB
                                                                                                                                                     Chapter 7
                                                                                              17    BRANDON MICHAEL D'HAENENS,
                                                                                                                                                     ORDER APPROVING THIRD
                                                                                              18                    Debtor.                          STIPULATION TO EXTEND DEADLINE
                                                                                                                                                     TO OBJECT TO DEBTOR’S
                                                                                              19                                                     EXEMPTIONS PURSUANT TO
                                                                                                                                                     FEDERAL RULE OF BANKRUPTCY
                                                                                              20                                                     PROCEDURE 4003
                                                                                              21                                                     Date of Hearing:       N/A
                                                                                                                                                     Time of Hearing:       N/A
                                                                                              22
                                                                                                                                                     Judge: Honorable Bruce T. Beesley
                                                                                              23
                                                                                              24             The Court having reviewed and considered the Third Stipulation to Extend Deadline to

                                                                                              25   Object to Debtor’s Exemptions Pursuant to Federal Rule of Bankruptcy Procedure 4003 (the

                                                                                              26   “Stipulation”) filed by the parties thereto, and good cause appearing therefore,

                                                                                              27   ...

                                                                                              28   ...

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                                                                                             1            IT IS HEREBY ORDERED that1:

                                                                                             2            (1)   The Stipulation is APPROVED in its entirety;

                                                                                             3            (2)   The deadline for the Trustee to file an objection to the Debtor’s exemptions shall

                                                                                             4   be continued from August 31, 2017, up to and including October 19, 2017; and

                                                                                             5            (3)   The Stipulation is without prejudice to any of the Parties requesting a further

                                                                                             6   extension of time from the Court for cause shown.

                                                                                             7            IT IS SO ORDERED

                                                                                             8   Prepared and Submitted By:

                                                                                             9   NELSON & HOUMAND, P.C.
                         1180 North Town Center Drive, Suite 100, Las Vegas, Nevada 89144




                                                                                            10   By: /s/ Jacob L. Houmand_______________
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                                                                                                 Counsel for Shelley D. Krohn, Chapter 7 Trustee
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                                                                                                   Unless otherwise provided herein, all defined terms shall have the same meaning ascribed to
                                                                                            28
                                                                                                 them in the Stipulation.
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